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                   EXHIBIT 3
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                                          0 BERHE IDE N ~P.C.         ATTORNEYS-AT-LAW


     FIRM ATTORNEYS
                                          December 20, 2022
DR . NICK OBERHEIDEN
MroJal(illl( Partner- Wash DC, New York
LYNETTE S . BYRD
Parlner-Texas                             via Email: Edward.O.Siclari@llea.gov
ELIZABETH K. STEPP
Pa,tuer-NewYork, Texas
WILLIAM H . NEWMAN
                                          David 0. Siclari
Partner- New York                         Drug Enforcement Administration
PASCUAL C. MEYER
Partner- Texas
                                          Office of Chief Counsel
ELLEN COMLEY                              8701 Morrisette Drive
SeniorCowr..vel-Texas
                                          Springfield, Virginia 22152
ALINA VENEZIANO
Co1111sel- New York                       Phone: (202) 307-8010
PAUL STRICKLAND
Co1111.'il!I -California

       LOCAL COUNSEL
                                                 Re: Response to December 16, 2022, Request/or Additional Information
HON . JOE BROWN
Texas                                     Dear Mr. Siclari:
HON. AMANDA MARSHALL
Oregon
JOHN W , SELLERS
Maryland
                                          This firm represents Ascent Pharmaceuticals, Inc. ("Ascent"). We write in response
SAMER B. KORKOR                           to your office's December 16, 2022, Request for Additional Information.
Washington DC
COREY STEINBERG
Florida                                   Comment No. 1, concerning Ascent Attachment 1:
JOANNE FINE DELENA
Mass., Florida
RICHARDT. SIMMONS
                                          Several extracted pages of Batch Packaging Records (BPRs) provided in Ascent
Louisiana                                 Attachment 1 relate to lot numbers for which Ascent did not previously provide
WILFRED S RATTIGAN
New Ymk, Conn                             either Batch Manufacturing Records (BMRs) or BPRs. Other extracted pages
DAVID RABEN                               conflict with BPRs previously provided DEA. Kindly provide a complete set of
Florida
ERICK CRUZ
                                          BMRs and BPRs that relate to all lot numbers of methylphenidate 20 mg listed in
Florida                                   Ascent Attachment 1.
DON A L YKKEBAK
Florida
KAREN PICKETT
Mass
                                          Response to Comment No. l:
MICHAEL A. RATAJ
Michigan                                  Today Ascent has sent to your office a USB drive that contains a complete set of
STEVEN DILLON
Mass
                                          BMRs and BPRs for Methylphenidate 20 mg Tablets (Attachment-I) that it shipped
BILL TUNKEY                               in 2021 and 2022. And below is a table- I that reflects the lot numbers and shipment
Florida
KAMILLE DEAN
                                          dates for those tablets.
Ariz., Utah, Cal, Minn, Col
AARON L, WILEY

JOSEPH NASCIMENTO
Florida
CAMERON J. BLAZER
s Carolina
PETER T, PHILLIPS
S Carolina
TERRY C. FRANK
Vuginia, North Carolina
JOSEPH J. REINKE
Oklahoma
DANIEL A. SMITH
Florida
JEFFREY HOWELL
Florida
ANDRESHRAMENKO
Newl..,;ey
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 TABLE-I

                                                 Strength
            Product Name                Lot#                         Date Shipped
                                                   (mg)
 Methylphenidate HCL Tablets         20111138       20                           2/15/2021
 Methylphenidate HCL Tablets         20111139       20                           2/23/2021
 Methylphenidate HCL Tablets         20111140       20                             3/1/2021
 Methylphenidate HCL Tablets         21030200       20                           3/31/2021
 Methylphenidate HCL Tablets         21030201       20                           4/14/2021
 Methylphenidate HCL Tablets         21030202       20                           4/14/2021
 Methylphenidate HCL Tablets         21040420       20                           5/25/2021
 Methylphenidate HCL Tablets         21040421       20                           5/24/2021
 Methylphenidate HCL Tablets         21040422       20                           5/27/2021
 Methylphenidate HCL Tablets         21060663       20                           7/13/2021
 Methylphenidate HCL Tablets         21060664       20                            7/6/2021
 Methylphenidate HCL Tablets         21060665       20                            7/6/2021
 Methylphenidate HCL Tablets         21070868       20                           8/24/2021
 Methylphenidate HCL Tablets         21070869       20                           8/30/2021
 Methylphenidate HCL Tablets         21070870       20                           8/30/2021
 Methylphenidate HCL Tablets         21091120       20                          10/18/2021
 Methylphenidate HCL Tablets         21091121       20                           12/7/2021
 Methylphenidate HCL Tablets         21091122       20                          10/18/2021
 Methylphenidate HCL Tablets         21121541       20                            1/3/2022
 Methylphenidate HCL Tablets         21121542       20                          12/28/2021
 Methylphenidate HCL Tablets         21121543       20                          12/28/2021
 Methylphenidate HCL Tablets         22010182       20                           3/10/2022
                                                                     -

 Methylphenidate HCL Tablets         22010183       20                           3/21/2022
 Methylphenidate HCL Tablets         22010184       20                           3/18/2022
 Methylphenidate HCL Tablets         22030477       20                           4/28/2022
 Methylphenidate HCL Tablets         22030478       20                           4/28/2022
 Methylphenidate HCL Tablets         22030479       20                           4/18/2022


Comment No. 2, concerning A cent Attachment 7:
Ascent has provided two competing versions of a DEA Form 222, Order No. 200324373, for
oxycodone/AP AP 10/325 mg 500-ct bottles. In August 2022, Ascent gave to DEA a version in which Part 3
was handwritten. In November 2022, Ascent gave to DEA a version in which Part 3 was typed. Some
inconsistencies are noted below. See attachment for reference.

     1. August version: item #18 stated 2,000 packages were ordered, and that on April 19, 2022, 1,944
        packages were shipped. November version: item #18 stated 2,000 packages were ordered, and that on
        May 23, 2022, 1,956 packages were shipped.




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    2. August version: item #19 stated 2000 packages were ordered, and that on April 19, 2022, 1,968
       packages were shipped. November version: item # 19 stated 2000 packages were ordered, and that on
       April 19, 2022, 1,944 packages were shipped.

    3. August version: item #20 stated 2000 packages were ordered, and there is no indication anything was
       shipped. November version: item #20 stated 2000 packages were ordered, and that on April 19, 2022,
       1,968 packages were shipped.

Please provide any secondary shipping records in Ascent's possession relating to DEA Form 222 Order No.
200324373 that show which version, if either, is accurate.

Please also provide an explanation for why Ascent would have two different (and inconsistent) versions of a
single DEA Form 222.

Respon e to Comment No. 2:
Today Ascent has sent to your office its secondary shipping records relating to DEA Form 222 Order No.
200324373. Those records include:
    1) Shipping documents (Packing Slip along with Vault log sheet) for the DEA Form 222, Order No.
       200324373 for Oxycodone/APAP 10/325 mg, 500-ct bottles for line items 18, 19 and 20 (Attachment-
       2A)
    2) ARCOS report document submitted in May 2022 for DEA Form 222, Order No. 200324373 for
       Oxycodone/APAP 10/325 mg, 500-ct bottles for line items 18 and 19, shipped on April 19, 2022.
       (Attachment-2B)

    3) ARCOS Report document submitted in June for DEA Form 222, Order No. 200324373 for Oxycodone /
       APAP 10/ 325 mg, 500-ct bottles for line item 20, shipped on May 23, 2022 (Attachment-2C)

    4) The complete handwritten copy of DEA 222 form (Attachment-2D)



Those records reflect that the handwritten form is accurate.

Ascent has two versions of the form because of its past record keeping process, that includes an original
handwritten form and a typed electronic copy. It did so for operational convenience. That process is as follows:
    •   Ascent receives DEA Form 222 from the purchasing entity.
    •   Ascent makes an electronic copy of the form and keeps it accessible to Controlled Drug Substance (CDS)
        personnel, including associates.
    •   When the product is ready for shipping, an CDS associate enters the relevant information in electronic
        form using packaging and shipping documents.
    •   Since a DEA Form 222 may include multiple items and each item is shipped on different dates,
        information related to each shipment is typed when the shipment is processed. Ascent follows this
        practice to avoid entry errors.
    •   Once each shipment is processed, the CDS associate in charge enters the information in the original
        DEA Form 222 and keeps the electronic copy with supporting documents.
Here, there are discrepancies between the two copies because the employee who made the typed copy
accidentally skipped row number 18 when entering data. As a result, the substance of the information reflected
in rows 18-20 is the same, but the order is different.

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      •   In the typed copy, Ascent made entries on April 19, 2022, but skipped the 18th row and typed on 19th
          and 20th rows. On May 23, 2022, Ascent used the 18th row to record another shipment.
      •   But in the handwritten form, Ascent recorded the entries in order of date shipped. As a result, Ascent
          recorded the April 19, 2022 shipments in the 18th and 19th rows and the May 23, 2022, shipment on the
          20th row.

Ascent provided to the DEA in August a scanned copy of partially filled DEA Form 222, which it scanned
before entering information in column number 20. When Ascent received a request in November, it
inadvertently submitted the typed copy.
Ascent is committed to addressing this error. From now on:

      1) Ascent will provide to the DEA only handwritten DEA Forms 222.
      2) Ascent will discard any electronic DEA Forms 222 that it creates for operational purposes once all
         shipments are made that are reflected that particular form.
      3) Ascent will consider its handwritten DEA Forms 222 as its official records.

Comment No. 3. concerning Ascent Attachments 11 and 12:
Ascent has not produced BMRs or BPRs for Lot #20121235 and 20121237. Kindly provide a complete set of
BMRs and BPRs for these batches.
Respon e to Comment No. 3:
Today Ascent has sent to your office the BMRs and BPRs for Oxycodone Tablets 30 mg Lot# 20121235 and
20121237 (Attachment-3).
During its inspection, the DEA requested BMRs and BPRs for batches that were issued in 2021 and 2022. Since
Ascent was not aware of scope of the investigation, Ascent did not provide BMRs and BPRs that were carried
forward from 2020 as in process. Ascent is now providing copies of BMRs and BPRs for the following products
that were carried forward from 2020 as in process, to 2021 (Attachment-4). Please find the following BMRs and
BPRs for products with Lot numbers and shipped date in the following table-2
Table-2

                 Product Name                           Lot#            Strength   Date Shipped
  Oxycodone and AP AP Tablets                         20101017             10          1/21/2021
  Oxycodone and APAP Tablets                          20101018             10          1/21/2021
  Oxycodone and AP AP Tablets                         20111068             10          1/21/2021
  Hydrocodone Bitartrate and APAP Tablets 5/325       20101004              5           1/4/2021
  Hydrocodone Bitartrate and APAP Tablets 5/325       20111144              5           1/4/2021
  Hydrocodone Bitartrate and AP AP Tablets 5/325      20111145              5           1/4/2021
  Hydrocodone Bitartrate and AP AP Tablets 5/325      20111146              5           1/4/2021
  Hydrocodone Bitartrate and AP AP Tablets 5/325      20111147              5          1/14/2021
  Hydrocodone Bitartrate and APAP Tablets 5/325       20121168              5          1/14/2021
  Hydrocodone Bitartrate and AP AP Tablets 5/325      20121169              5          1/18/2021
  Hydrocodone Bitartrate and AP AP Tablets            20121211              5          1/18/2021
  Hydrocodone Bitartrate and AP AP Tablets            20121212              5          1/18/2021
  Hydrocodone Bitartrate and APAP Tablets             20121213              5          1/18/2021

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  Hydrocodone Bitartrate and APAP Tablets             20121214             5     1/1912021
  Hydrocodone Bitartrate and AP AP Tablets            20121215             5     2/1512021
  Hydrocodone Bitartrate and AP AP Tablets            20121216             5     2115/2021
  Combined Granulation for Oxycodone HCL              20121232          15 &30        NIA
  Combined Granulation for Oxycodone HCL              20121233          15 &30        NIA
  Oxycodone HCL Tablets                               20121234            15     1/2512021
  Oxycodone HCL Tablets                               20121236            15     112512021


Thank you for your attention to this matter.


Sincerely



OBERHEIDEN P.C.
Counsel for Ascent




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